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   10                             UNITED STATES DISTRICT COURT
   11                            CENTRAL DISTRICT OF CALIFORNIA
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         PATRICK RUSSELL, as Personal                   CASE NO. 8:17-cv-00125-JLS-DFM
   13
         Representative of the Estate of Patrick John
   14    Russell and individually; LYNNE                ORDER (1) GRANTING IN PART AND
   15    RUSSELL, as Personal Representative of         DENYING IN PART DEFENDANTS’
         the Estate of Patrick John Russell and         MOTION FOR SUMMARY JUDGMENT;
   16    individually,                                  (2) GRANTING IN PART AND DENYING
   17                  Plaintiffs,                      IN PART DEFENDANTS’ MOTION TO
                                                        TRIFURCATE (Docs. 34, 35)
   18
               vs.
   19
   20 COUNTY OF ORANGE; ORANGE
         COUNTY SHERIFF-CORONER SANDRA
   21 HUTCHENS, individually and in her
   22 official capacity; JOSELYN LUMITAP,
   23 individually; PATTI TROUT, individually;
         MARIA TEOFILO, individually; THOMAS
   24 LE, individually, and DOES 1 through 10,
   25 inclusive,
                      Defendants.
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     1     I.        INTRODUCTION
     2           Before the Court are two Motions filed by Defendants County of Orange (the
     3 “County”); Orange County Sheriff Sandra Hutchens individually and in her official
     4 capacity; and Jocelyn Lumitap, Patti Trout, Maria Teofilo, and Thomas Le, individually
     5 (the “Medical Defendants”). The first is a Motion for Summary Judgment, (MSJ, Doc.
     6 34), and the second is a Motion to Trifurcate, (MTT, Doc. 35). Plaintiffs Lynne and
     7 Patrick Russell opposed both Motions. (MSJ Opp., Doc. 41; MTT Opp., Doc. 40.)
     8 Defendants replied. (MSJ Reply, Doc. 43; MTT Reply, Doc. 44.) After reviewing the
     9 papers and holding oral argument, the Court GRANTS IN PART and DENIES IN PART
   10 Defendants’ Motion for Summary Judgment. The Court GRANTS IN PART and DENIES
   11 IN PART Defendants’ Motion to Trifurcate.
   12            .
   13      II.       BACKGROUND
   14                A. Factual Background
   15            On January 8, 2016, Decedent Patrick John Russell (“Russell”) was taken to the
   16 Orange County Jail to be booked for a probation violation. (Genuine Disputes (“Gen.
   17 Disp.”) ¶¶ 1–2, Doc. 42.) Upon his arrival to the Orange County Jail Intake Release
   18 Center, he reported that he had no chronic conditions, medical health problems, or mental
   19 health problems and that he was not taking any medications. (Id. ¶ 5.)
   20            On January 23, 2016, at approximately 10:35 p.m., Russell was taken to the medical
   21 ward after experiencing symptoms of nausea, vomiting, and hyperventilation. (Teofilo
   22 Notes at 76, Ex. A to Teofilo Decl., Doc. 34-2.) Russell was treated by Nurse Maria
   23 Teofilo. (Teofilo Decl. ¶ 3, Doc. 34-2.) Russell reported to Nurse Teofilo that he was
   24 unable to breathe and that he was “having an anxiety attack.” (Id.) Nurse Teofilo took
   25 Russell’s vital signs and gave him bismuth subsalicylate to treat his gastrointestinal
   26 symptoms. (Id.) She then sent him back to jail.
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     1         A few hours later, at approximately 12:03 a.m. on January 24, 2016, Russell
     2 returned to the medical ward, complaining of chest pain. (Id. ¶ 4.) Russell indicated to
     3 Nurse Teofilo that the pain could be “muscular in nature” as a result of the thirty push-ups
     4 he had done the day before. (Id.) Russell also stated that he was “nervous, anxious, and
     5 unable to calm down.” (Id.) Nurse Teofilo noted that he was “unable to express [his]
     6 needs clearly.” (Teofilo Notes at 82.) She suggested that Russell stretch to relieve his
     7 chest pain and referred him to the Intake Release Center for a mental health evaluation.
     8 (Teofilo Decl. ¶ 4.)
     9         Roughly one hour later, at 1:08 a.m., Russell returned to the medical ward and was
   10 treated by Nurse Patricia Trout. (Gen. Disp. ¶ 13.) Russell reported to Nurse Trout that he
   11 was experiencing chest pain, pain radiating to his arm and jaw, continued vomiting,
   12 nausea, and shortness of breath. (Trout Notes at 81, Ex. B to Trout Decl., Doc. 34-3.)
   13 Russell also stated that his hands and feet were numb. (Id.) In response to Russell’s
   14 symptoms, Nurse Trout administered nitroglycerin. (Trout Decl. ¶ 2, Doc. 34-3.) Five
   15 minutes after receiving the nitroglycerin, Russell continued to experience severe chest pain
   16 and vomited again. (Trout Notes at 81.) Nurse Trout further observed that his heart rate
   17 and respiration were elevated. (Id.) In her notes, Nurse Trout wrote that she notified Dr.
   18 Le of “the above,” apparently referring to Russell’s severe pain following administration
   19 of nitroglycerin, continued vomiting, and elevated heart and respiration rates. (See Trout
   20 Notes at 81.) In Dr. Le’s declaration, he states that Nurse Trout “reported to me all of the
   21 symptoms Russell had been experiencing (complaints of anxiety and muscle pain from
   22 doing sit-ups).” (See Le Decl. ¶ 2, Doc. 34-4.) Dr. Le then ordered that Russell be given
   23 Motrin and receive a mental health evaluation. (Trout Notes at 81.)
   24          Russell thereafter received his mental health evaluation, during which he was
   25 advised on breathing and relaxation exercises to calm his anxiety. (Sierra Notes at 58–62,
   26 Ex. E to Lin Decl., Doc. 34-7.) Russell was then sent back to jail.
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     1          At 2:04 a.m., Russell returned to see Nurse Teofilo in the medical ward
     2 complaining of “flu-like” symptoms. (Teofilo Decl. ¶ 5, Doc. 34-2.) Nurse Teofilo sent
     3 Russell back to jail, instructing him to return to the medical ward if he felt he needed
     4 further evaluation. (Id.) Around 5:32 a.m., Russell returned to the medical ward. (Id. ¶
     5 6.) He stated to Nurse Teofilo, “I need help[.] [M]y chest really bothers me.” (Teofilo
     6 Notes at 80.) He reported feeling pain located around his throat and chest at a level of ten
     7 on a ten-point scale, and Nurse Teofilo observed that he was hyperventilating. (Id.) She
     8 also wrote in her notes that he had been treated with nitroglycerin by Nurse Trout but that
     9 it did not help with his chest pain. (Id.) Nurse Teofilo took Russell’s vital signs, which
   10 reflected an elevated heart rate of 101, elevated blood pressure of 142/98, and a respiration
   11 rate of 24. (Id.) She allowed him to remain in the medical ward for continued observation.
   12 (Teofilo Decl. ¶ 6.)
   13           Around 7:00 a.m., Nurse Jocelyn Lumitap evaluated Russell. (Lumitap Decl. ¶ 2,
   14 Doc. 34-5.) She took his vital signs and then determined through physical examination
   15 that his chest pain was “muscular.” (Id.) Nurse Lumitap noted that Russell was sitting
   16 with his head down and supporting his chest with his right hand. (Lumitap Notes at 80,
   17 Ex. C to Lumitap Decl., Doc. 34-5.) Russell reported to Nurse Lumitap that he was
   18 “worried about his physical pain and want[ed] to see the [doctor].” (Id.) Nurse Lumitap
   19 administered Motrin and provided Russell with an analgesic balm for his chest pain. (Id.)
   20 She assured him she would check on him again after lunch. 1
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              As an exhibit to their Opposition, Plaintiffs submitted photographs of text messages that were
   24    purportedly sent around 9:30 a.m. on January 24, 2016, discussing Russell’s condition. (See Gen.
         Disp. ¶ 30, referencing Ex. I to Opp., Doc. 41-10.) However, the declaration accompanying these
   25    text messages does not provide sufficient facts to authenticate them. (See Sehat Decl. ¶ 11, Doc.
         41-1.) For example, the declaration does not state how the sender of the messages knew
   26    information regarding Russell’s condition, what time these messages were sent, to whom they
         were sent, or whose phone is pictured. Accordingly, the Court may not consider this evidence.
   27    Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir. 2002) (“[U]nauthenticated documents
   28    cannot be considered in a motion for summary judgment.”)

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     1         Four hours later, at 11:08 a.m., Nurse Lumitap returned to Russell’s room. (Id.)
     2 Russell reported “deep throbbing pain in the middle of his chest and throat” at a level of
     3 ten. (Id.) Russell denied having a heart condition but stated that in the past he had been
     4 told he had high blood pressure. (Id.) He stated that his chest hurt more when he inhaled
     5 deeply. (Id.) Nurse Lumitap observed that Russell was restless, hyperventilating, and
     6 breathing shallowly. (Id.)
     7         At 11:40 a.m., Russell vomited again and continued to experience nausea, so he laid
     8 down on the floor. (Id.) Nurse Lumitap re-examined his vitals; his blood pressure was
     9 135/96 and his pulse was still elevated at 105. (Id.) She noted that he was
   10 hyperventilating “on and off” and “moans and groans intermittently.” (Id.) Nurse
   11 Lumitap then left Russell’s room.
   12          At 12:20 p.m., Nurse Lumitap returned to Russell’s room and found him
   13 unresponsive. (Lumitap Decl. ¶ 6.) She notified deputies of a “man down,” and to call
   14 911. (Id.) A deputy arrived and began CPR. (Id.) Paramedics arrived on the scene at
   15 12:28 p.m., and Russell was transported to Hoag Hospital at 12:43 p.m. where he later
   16 died. (Gen. Disp. ¶ 42.)
   17          At 3:39 p.m., Nurse Lumitap made an entry in Russell’s medical notes, which stated
   18 that she consulted with an on-call nurse practitioner at 10:43 a.m. regarding Russell’s
   19 symptoms, and the nurse practitioner instructed her to continue to administer Motrin as
   20 prescribed by Dr. Le. (Lumitap Decl. ¶ 2; Lumitap Notes at 79.)
   21          The Orange County Coroner determined that Russell died of a “hemothorax and
   22 hemopericardium” due to a “ruptured aortic dissection” and “hypertensive heart disease.”
   23 (Coroner’s Report, Ex. F to Lin Decl., Doc. 34-7.) Plaintiffs retained a private pathologist
   24 who came to the same conclusion. (See Pathologist’s Report at 6–7, Ex. J to Opp., Doc.
   25 41-11.)
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   27             B. Procedural History & Discovery
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     1         On January 24, 2017, Plaintiffs filed the instant action against Defendants.
     2 (Compl., Doc. 1.) On March 31, 2017, Plaintiffs filed their First Amended Complaint,
     3 alleging claims for (1) deliberate indifference to a substantial risk of harm to health in
     4 violation of 42 U.S.C. § 1983 (“section 1983”), against Orange County Sherriff Sandra
     5 Hutchens and the Medical Defendants; (2) failure to train in violation of section 1983,
     6 against the County; (3) unconstitutional custom, practice, or policy in violation of section
     7 1983, against the County; (4) wrongful death, against all Defendants; (5) survival, against
     8 all Defendants; (6) medical negligence against the County and the Medical Defendants;
     9 and (7) failure to summon medical care in violation of Cal. Gov’t Code § 845.6., against
   10 all Defendants. (FAC ¶¶ 50–94.)
   11          The parties have since conducted discovery, during which Plaintiffs obtained
   12 evidence of the Orange County Health Care Agency (OCHA)’s policies and procedures for
   13 registered nurses who provide care to incarcerated patients. According to the OCHA, the
   14 symptoms that Russell was displaying prior to his death are consistent with the symptoms
   15 of acute angina, a serious heart condition that may precede cardiac arrest. (See OCHA
   16 Policy on Angina, OCHA Policy on Cardiac Arrest; Exs. K, L to MSJ Opp.; Docs. 37-1,
   17 37-2.) Symptoms of angina include: pain radiating to the jaws, back, shoulders, arms, and
   18 fingers; shortness of breath; dyspnea (difficulty breathing); diaphoresis (shallow
   19 breathing); and elevated pulse or blood pressure. (OCHA Policy on Angina at 472.)
   20 When these symptoms are present, nurses are instructed to administer nitroglycerin and to
   21 consult with a physician as soon as possible. (Id. at 472–73.) If symptoms do not subside
   22 after the first dose of nitroglycerin, nurses are instructed to call paramedics to transfer the
   23 patient to the hospital. (Id. at 473.)
   24          Plaintiffs also deposed Nurses Trout and Teofilo regarding the OCHA’s policy.
   25 When questioned as to why she did not hospitalize Russell following the ineffective dose
   26 of nitroglycerin, Nurse Trout testified that she “ponder[ed]” calling the paramedics but
   27 instead notified Dr. Le and ended her investigation once Dr. Le recommended Motrin and
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     1 a mental health evaluation. (Trout Dep. at 108–09, Ex. F to MSJ Opp., Doc. 41-7.) Nurse
     2 Teofilo was also questioned regarding her decision not to hospitalize Russell after she
     3 learned that the nitroglycerin was ineffective. (Teofilo Dep. at 73, Ex. E to MSJ Opp.,
     4 Doc. 41-6.) She acknowledged that she was aware of the OCHA policy to hospitalize
     5 under those circumstances and that she had been trained according to that policy, but she
     6 said that she had conversed with Nurse Trout and had likewise satisfied herself with Dr.
     7 Le’s recommendation. (Id.)
     8         Defendants now move for summary judgment on all seven of Plaintiffs’ claims.
     9 (See MSJ.) Separately, they move to divide the trial into four phases, as follows: the first
   10 phase trying Plaintiffs’ liability claims against the Medical Defendants; the second phase
   11 trying Plaintiffs’ Monell claims against the County; the third phase trying Plaintiffs’
   12 demand for compensatory damages; and the fourth phase trying Plaintiffs’ demand for
   13 punitive damages. (MTT.)
   14
   15      III.   MOTION FOR SUMMARY JUDGMENT
   16             A. Legal Standard
   17          In deciding a motion for summary judgment, the Court must view the evidence in
   18 the light most favorable to the non-moving party and draw all justifiable inferences in that
   19 party’s favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Summary
   20 judgment is proper “if the [moving party] shows that there is no genuine dispute as to any
   21 material fact and the [moving party] is entitled to judgment as a matter of law.” Fed. R.
   22 Civ. P. 56. A factual dispute is “genuine” when there is sufficient evidence such that a
   23 reasonable trier of fact could resolve the issue in the non-movant’s favor, and a fact is
   24 “material” when it might affect the outcome of the suit under the governing law. Anderson,
   25 477 U.S. at 248. But “credibility determinations, the weighing of evidence, and the
   26 drawing of legitimate inferences from the facts are jury functions, not those of a judge.”
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     1 Acosta v. City of Costa Mesa, 718 F.3d 800, 828 (9th Cir. 2013) (quoting Reeves v.
     2 Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)).
     3         The role of the Court is not to resolve disputes of fact but to assess whether there
     4 are any factual disputes to be tried. The moving party bears the initial burden of
     5 demonstrating the absence of a genuine dispute of fact. Celotex Corp. v. Catrett, 477 U.S.
     6 317, 323 (1986). “Once the moving party carries its initial burden, the adverse party ‘may
     7 not rest upon the mere allegations or denials of the adverse party’s pleading,’ but must
     8 provide affidavits or other sources of evidence that ‘set forth specific facts showing that
     9 there is a genuine issue for trial.’” Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir.
   10 2001) (quoting Fed. R. Civ. P. 56(e)).
   11
   12              B. Section 1983 Claims
   13                 1. The Medical Defendants
   14          Plaintiffs’ first cause of action is brought against the Medical Defendants under
   15 section 1983 for “deliberate indifference to a substantial risk of harm” in violation of the
   16 Fourteenth Amendment. (See FAC ¶¶ 50–65.) Section 1983 permits citizens to bring civil
   17 actions against public employees who have violated their constitutional rights. See Baker
   18 v. McCollan, 443 U.S. 137, 146 (1979). However, the qualified immunity doctrine limits
   19 such actions to those where the constitutional right was clearly established at the time of
   20 the violation. See Saucier v. Katz, 533 U.S. 194, 201 (2001). Defendants argue that the
   21 Medical Defendants are entitled to qualified immunity because they did not violate
   22 Russell’s constitutional rights and, even if they did, the right that they violated was not
   23 “clearly established” at the time of Russell’s death. (MSJ Mem. at 9–16, Doc. 34.)
   24                      a. Deliberate Indifference
   25          “[C]laims for violations of the right to adequate medical care brought by pretrial
   26 detainees against individual defendants under the Fourteenth Amendment must be
   27 evaluated under an objective deliberate indifference standard.” Gordon v. Cty. of Orange,
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     1 888 F.3d 1118, 1124–25 (9th Cir. 2018). “Based thereon, the elements of a pretrial
     2 detainee’s medical care claim against an individual defendant under the due process clause
     3 of the Fourteenth Amendment are: (i) the defendant made an intentional decision with
     4 respect to the conditions under which the plaintiff was confined; (ii) those conditions put
     5 the plaintiff at substantial risk of suffering serious harm; (iii) the defendant did not take
     6 reasonable available measures to abate that risk, even though a reasonable official in the
     7 circumstances would have appreciated the high degree of risk involved—making the
     8 consequences of the defendant’s conduct obvious; and (iv) by not taking such measures,
     9 the defendant caused the plaintiff’s injuries.” Id. at 1125. “With respect to the third
   10 element, the defendant’s conduct must be objectively unreasonable, a test that will
   11 necessarily turn on the facts and circumstances of each particular case.” Id. Ultimately,
   12 “the plaintiff must prove more than negligence but less than subjective intent—something
   13 akin to reckless disregard.” Id.
   14          The sole element of Plaintiffs’ claim that Defendants dispute is the third – whether
   15 the Medical Defendants acted with deliberate indifference to Russell’s condition. “A
   16 determination of ‘deliberate indifference’ involves an examination of two elements: [1] the
   17 seriousness of the prisoner’s medical need and [2] the nature of the defendant’s response to
   18 that need.” McGuckin v. Smith, 974 F.2d 1050, 1059 (9th Cir. 1992), overruled on other
   19 grounds by WMX Techs., Inc. v. Miller, 104 F.3d 1133 (9th Cir. 1997).
   20          As to the first element, a serious medical need exists if “the failure to treat a
   21 prisoner’s condition could result in further significant injury or the ‘unnecessary and
   22 wanton infliction of pain.’” Id. Clearly, Russell’s medical need was qualitatively serious
   23 and posed a “substantial” risk to his health, as it resulted in his death. See id. Moreover,
   24 Russell’s symptoms – nausea, vomiting, severe pain radiating through his chest and throat,
   25 hyperventilation, numbness in his extremities – were all consistent with the likelihood that
   26 Russell was experiencing a life-threatening cardiac event. (See OCHA Policies on Angina,
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  1 Cardiac Arrest.) A reasonable doctor would find these symptoms and their attendant cause
  2 “worthy of comment or treatment.” See McGuckin, 974 F.2d at 1059–60.
  3            As to the second element, the Court considers the evidence that the Medical
  4 Defendants “fail[ed] to act in the face of an unjustifiably high risk of harm that is either
  5 known or so obvious that it should be known.” Farmer v. Brennan, 511 U.S. 825, 837
  6 (1994) (defining civil law’s “objective recklessness” standard).
  7            As an initial matter, the course of treatment chosen by the Medical Defendants was
  8 clearly “medically unacceptable under the circumstances.” Colwell v. Bannister, 763 F.3d
  9 1060, 1068 (9th Cir. 2014). Stretching tips, analgesic balm, and Motrin are inappropriate
 10 to treat a serious cardiac condition. (See Telofilo Decl. ¶ 4; Trout Notes at 81; Lumitap
 11 Notes at 80.) Although Nurse Trout eventually administered nitroglycerin, which,
 12 according to the OCHA’s policy, is a medically appropriate initial response to the
 13 symptoms that Russell was displaying, Defendants failed to follow through with
 14 appropriate treatment when it became clear that this initial treatment was insufficient. (See
 15 Trout Notes at 81.) Defendants’ chosen course of “treatment” is not merely a “difference
 16 of opinion between a physician and the prisoner,” see Colwell, 763 F.3d at 1068, but
 17 rather, is a “patently unreasonable” response to Russell’s symptoms. 2 Self v. Crum, 439
 18 F.3d 1227, 1232 (9th Cir. 2006). (See OCHA Policy on Angina; Teofilo Dep. at 73.) Cf.
 19 West v. Bennett, No. CV06–51–S–LMB, 2009 WL 2462397 (D. Idaho Aug. 10, 2009)
 20 (finding no deliberate indifference where, in response to complaints of chest pain, the
 21 plaintiff was sent to the emergency room even though “all signs pointed to a muscle spasm
 22 rather than a heart attack”).
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             To the extent that Defendants argue that summary judgment is appropriate simply because
 26 Russell received some treatment, (Reply at 5), this argument is incorrect as a matter of law: a
      plaintiff “need not prove complete failure to treat [the patient] …[;] access to medical staff is
 27 meaningless unless that staff is competent and can render competent care.” See Ortiz v. City of
 28 Imperial, 884 F.2d 1312, 1313–14 (9th Cir. 1989).
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  1           Thus, the Court turns to the evidence that the risk of harm to Russell was either
  2 “known or so obvious that it should [have been] known” to the Medical Defendants.
  3 Farmer, 511 U.S. at 837.
  4           Nurse Teofilo was the first medical professional to treat Russell. She was aware as
  5 early as 10:35 p.m. on January 23, 2016, that Russell was experiencing medically
  6 concerning symptoms, i.e., nausea, vomiting, and hyperventilation. (Teofilo Notes at 75–
  7 76.) Within two hours, Russell returned to Nurse Teofilo; his symptoms had escalated to
  8 include chest pain and an “[inability] to express his needs clearly.” (Teofilo Notes at 82.)
  9 Although Russell did mention that he had done push-ups the day before, Nurse Teofilo
 10 personally observed over the next seven hours that Russell’s pain was increasing and his
 11 overall condition was deteriorating. (See generally, Teofilo Decl.; Teofilo Notes at 80–
 12 82.) By 5:30 a.m., Russell was begging, “I need help[.] [M]y chest really bothers me.”
 13 (Teofilo Notes at 80.) Moreover, by that point in the morning, Nurse Teofilo knew that
 14 Nurse Trout had administered nitroglycerin to Russell and that the treatment had been
 15 ineffective. As Nurse Teofilo admitted in her deposition, she also was aware that
 16 hospitalization was the appropriate treatment for a patient whose symptoms had not
 17 responded to nitroglycerin. (Teofilo Dep. at 73.) Thus, the evidence is more than
 18 sufficient to indicate that Nurse Teofilo knew or should have known that Russell was
 19 experiencing serious and persistent symptoms of cardiac distress, and she yet elected
 20 neither to hospitalize him nor even to consult an on-call physician. See Farmer, 511 U.S.
 21 at 837.
 22           Nurse Trout was the second medical professional to treat Russell. Russell reported
 23 to Nurse Trout that he was experiencing chest pain, pain radiating to his arm and jaw,
 24 continued vomiting, nausea, shortness of breath, and numbness in his hands and feet.
 25 (Trout Notes at 81.) In response, Nurse Trout administered nitroglycerin to Russell, a fact
 26 which alone indicates that Nurse Trout actually knew that Russell’s symptoms were
 27 qualitatively serious. Farmer, 511 U.S. at 837. Thereafter, Nurse Trout observed that this
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  1 treatment did not relieve Russell’s pain and that his heart rate and respiration remained
  2 elevated. (Trout Notes at 81.) Nevertheless, despite her knowledge and training, Nurse
  3 Trout opted to call Dr. Le and proceed with a course of treatment of Motrin instead of
  4 hospitalizing Russell. (Trout Dep. at 108–09.)
  5         Nurse Lumitap was the last of the Medical Defendants to treat Russell while he was
  6 alive, and she observed his condition for a period of more than five hours, from 7:00 a.m.
  7 until he became unresponsive at approximately 12:20 p.m. (Lumitap Decl. ¶¶ 2, 6.)
  8 Although Nurse Lumitap claimed to have determined that Russell’s chest pain was
  9 muscular in her initial evaluation, she wrote in her notes that he was sitting slumped in a
 10 chair clutching his chest and that he was “worried about his physical pain and want[ed] to
 11 see the [doctor].” (Lumitap Notes at 80.) Even to a lay person, this description is not
 12 consistent with a person experiencing muscle soreness from 30 push-ups, especially given
 13 that Russell’s records by this point reflected that he had experienced unrelenting vomiting
 14 and chest pain for more than nine hours, despite the administration of nitroglycerin.
 15 (Lumitap Notes at 79–80.) Nevertheless, Nurse Lumitap left Russell by himself for four
 16 hours; when she checked on him at 11:08 a.m., his symptoms had not relented. He was
 17 still experiencing severe chest pain, his heart rate was elevated, and he continued to
 18 hyperventilate. (Lumitap Notes at 79.) Still, she left him alone for another hour, and by
 19 the time she returned, Russell was unresponsive. (Lumitap Decl. ¶ 6.)
 20         Finally, Dr. Le did not personally observe Russell’s symptoms, but his declaration
 21 states that Nurse Trout had alerted him to “all of the symptoms Russell had been
 22 experiencing.” (Le Decl. ¶ 2.) Dr. Le’s declaration goes on to specifically identify
 23 Russell’s “anxiety and muscle pain” as the particular symptoms to which he was alerted,
 24 but Nurse Trout’s notes tell a different story about Dr. Le’s knowledge. (See Trout Notes
 25 at 81.) According to Nurse Trout’s notes, she notified Dr. Le that five minutes after
 26 administering nitroglycerin, Russell reported severe chest pain, vomited, continued to have
 27 an elevated heart rate, and continued to breathe rapidly. (Id., stating “Notified Dr. T. Le of
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  1 above.”) Resolving this factual dispute in favor of Plaintiffs, the evidence indicates that
  2 Dr. Le was made aware of all of Russell’s symptoms as described by Nurse Trout’s notes.
  3 Thus, without examination, Dr. Le ordered Motrin and a mental health evaluation, both of
  4 which are clearly inappropriate to treat the totality of the symptoms Russell was
  5 experiencing. (Id.) This course of conduct, including Dr. Le’s failure to examine Russell
  6 in the face of objectively serious symptoms, is sufficient to raise a triable issue of fact that
  7 Dr. Le acted with deliberate indifference. See Ortiz v. City of Imperial, 884 F.2d 1312,
  8 1313–14 (9th Cir. 1989) (finding a triable issue as to the deliberate indifference of a doctor
  9 who, after being alerted to symptoms of a serious head injury, “without an examination,”
 10 prescribed medication that was “inappropriate to treat a head injury”).
 11         Based on the foregoing evidence, the Court concludes that the Medical Defendants
 12 are not entitled to summary judgment on the issue of deliberate indifference. Given the
 13 apparent seriousness of Russell’s medical needs, their awareness of his symptoms, and
 14 their “repeated fail[ures] to treat [him] properly” over the course of fourteen hours, the
 15 evidence is susceptible to the interpretation that the Medical Defendants acted with
 16 deliberate indifference. See McGuckin, 974 F.2d at 1060 (noting that evidence of either an
 17 especially serious medical condition or repeated failures to treat an inmate properly
 18 “strongly suggest that the defendant’s actions were motivated by ‘deliberate
 19 indifference’”). See also Ortiz, 884 F.2d at 1313–14. Thus, it is for the jury to decide
 20 whether the Medical Defendants’ actions amounted to deliberate indifference to Russell’s
 21 serious medical needs.
 22                      b. Qualified Immunity
 23         “Government officials who perform discretionary functions are protected from
 24 liability for civil damages as long as their conduct does not violate clearly established
 25 statutory or constitutional rights of which a reasonable person would have known.” Lum v.
 26 Jensen, 876 F.2d 1385, 1386 (9th Cir. 1989).
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  1          The Court finds that, at the time of Russell’s death, a reasonable person would have
  2 been aware of the law regarding the medical treatment of prisoners: “The government is
  3 required to provide medical care for those whom it punishes by incarceration, and prison
  4 officials who act with ‘deliberate indifference’ to an inmate’s serious medical needs violate
  5 the Eighth Amendment.” Hamilton v. Endell, 981 F.2d 1062, 1066 (9th Cir. 1992),
  6 overruled in part on other grounds as recognized in Snow v. McDaniel, 681 F.3d 978, 986
  7 (9th Cir. 2012). See also Clement v. Gomez, 298 F.3d 898, 906 (9th Cir. 2002); Estelle v.
  8 Gamble, 429 U.S. 97, 103 (1976).
  9          “[A] finding of deliberate indifference necessarily precludes a finding of qualified
 10 immunity.” Hamilton, 981 F.2d at 1066. Although resolution of the factual issues at trial
 11 “may well relieve [the Medical Defendants] of any liability in this case, if the [Plaintiffs’]
 12 version of the facts were to prevail at trial, a jury might conclude that the [Medical
 13 Defendants] were deliberately indifferent.” Clement, 298 F.3d at 906. “Under such
 14 circumstances, [their] actions are not protected by qualified immunity.” Id. See also
 15 Williams v. Ross, No. C 04-2409 SI, 2009 WL 890399, at *2 (N.D. Cal. Apr. 1, 2009)
 16 (finding that prior cases have “clearly establish[ed] a prisoner’s recognized right to prompt
 17 medical care when displaying symptoms of cardiac arrest”).
 18          Accordingly, the Medical Defendants are not entitled to the qualified immunity
 19 defense. Summary judgment is DENIED as to the Medical Defendants for Plaintiffs’ first
 20 cause of action, deliberate indifference to a substantial risk of harm to health in violation of
 21 section 1983.
 22
 23                 2. Sherriff Hutchens
 24          Plaintiffs’ deliberate indifference claim is also brought against Sherriff Hutchens.
 25 (FAC ¶¶ 50–65.) Defendants argue that summary judgment should be granted as to
 26 Sherriff Hutchens because there is no evidence that she knew of or participated in
 27 Russell’s treatment. (MSJ Mem. at 14.)
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  1          The Court agrees. In a section 1983 action, unless a state law provides otherwise, a
  2 state official cannot be liable merely because she is a supervisor; rather, she must “play a
  3 personal role in the constitutional deprivation.” See Redman v. Cnty. of San Diego, 942
  4 F.2d 1435, 1446 (9th Cir. 1991), abrogated on other grounds as recognized by Davis v.
  5 Folsom Cordova Unified Sch. Dist., 674 F. App’x 715, 717 (9th Cir. 2017). Plaintiffs have
  6 introduced no evidence that Hutchens knew of, participated in, or directed the
  7 constitutional violation against Russell. Therefore, Sherriff Hutchens bears no personal
  8 liability for the actions of the Medical Defendants and summary judgment is GRANTED
  9 as to Defendant Hutchens for Plaintiffs’ deliberate indifference claim.
 10
 11                 3. Monell Claims
 12          Plaintiffs’ second and third causes of action are brought against the County under
 13 section 1983 for failure to properly train medical professionals and for maintaining an
 14 unconstitutional custom, practice, or policy. (FAC ¶¶ 66–78.)
 15          Section 1983 claims brought against a governmental entity under a theory of
 16 respondeat superior are known as Monell claims. See Thompson v. City of Los Angeles,
 17 885 F.2d 1439, 1443 (9th Cir. 1989), overruled on other grounds by Bull v. City & Cty. of
 18 San Francisco, 595 F.3d 964 (9th Cir. 2010). A plaintiff may prevail on his Monell claims
 19 only if he “establishes that his injuries were inflicted pursuant to an official county policy
 20 or custom.” Thompson, 885 F.2d at 1443.
 21          Plaintiffs have not provided evidence of any unconstitutional County custom or
 22 policy. In fact, in their briefing, they do not even attempt to address Defendants’ Monell
 23 arguments; therefore, the Court infers that Plaintiffs have abandoned these claims. See
 24 Jenkins v. Cty. of Riverside, 398 F.3d 1093, 1095 n.4 (9th Cir. 2005) (“Plaintiff abandoned
 25 her other two claims by not raising them in opposition to the County’s motion for
 26 summary judgment.)
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  1         Accordingly, summary judgment is GRANTED as to Plaintiffs’ second cause of
  2 action, failure to train; and Plaintiffs’ third cause of action, maintenance of an
  3 unconstitutional custom, practice, or policy.
  4
  5         C.      State Law Claims
  6         Plaintiffs’ fourth through eighth causes of action are brought under California state
  7 law for wrongful death; survival; medical negligence; and failure to summon medical care.
  8 (FAC ¶¶ 79–94.) Defendants argue that summary judgment should be granted as to all
  9 state law claims on the basis of statutory immunity.
 10
 11                 1. Wrongful Death, Survival, and Medical Negligence Claims
 12         Plaintiffs’ fourth, fifth, and sixth causes of action are for wrongful death, survival,
 13 and medical negligence, respectively, based on the acts of the Medical Defendants in
 14 failing to diagnose and treat Russell. (FAC ¶¶ 79–86.)
 15         Under § 844.6 of the Cal. Gov’t Code, public entities are immune from liability for
 16 injuries to prisoners. Cal. Gov’t Code § 844.6(a)(2). This immunity extends to actions for
 17 wrongful death brought on behalf of the deceased prisoner. See May v. Monterey Cnty.,
 18 139 Cal. App. 3d 717 (1983); Lowman v. Cnty. of L.A., 127 Cal. App. 3d 613 (Ct. App.
 19 1982). Thus, summary judgment is GRANTED as to the County and Sherriff Hutchens
 20 with respect to Plaintiffs’ fourth cause of action, wrongful death; fifth cause of action,
 21 survival; and sixth cause of action, medical negligence.
 22         However, public employees sued in their individual capacity, as the Medical
 23 Defendants here, “are statutorily liable to the same extent as private persons for injuries
 24 caused by their acts or omissions” unless a statute provides otherwise. Cotta v. Cty. of
 25 Kings, 79 F. Supp. 3d 1148, 1182 (E.D. Cal. 2015) (citing Hayes v. Cty. of San Diego, 305
 26 P.3d 252 (2013)), on reconsideration in part, No. 1:13-CV-359-LJO-SMS, 2015 WL
 27 521358 (E.D. Cal. Feb. 9, 2015), aff’d in part, rev’d in part, 686 F. App’x 467 (9th Cir.
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  1 2017). Defendants do not cite to any statutory authority that extends § 844.6 immunity to
  2 individual public employees for wrongful death based on medical negligence. (See MSJ
  3 Mem. at 20–22.) Indeed, subsection (d) of § 844.6 states, “Nothing in this section
  4 exonerates a public employee from liability for injury proximately caused by his negligent
  5 or wrongful act or omission.” See Cal. Gov’t Code § 844.6(d). Accordingly, summary
  6 judgment is DENIED as to the Medical Defendants for Plaintiffs’ fourth, fifth, and sixth
  7 causes of action.
  8                 2. Failure to Summon Medical Care
  9         Plaintiffs’ seventh cause of action is for “failure to summon medical care” in
 10 violation of Cal. Gov’t Code § 845.6. (FAC ¶¶ 92–94.) Under § 845.6, a public entity or
 11 public employees may be liable when “the employee is acting within the scope of his
 12 employment, … [and] knows or has reason to know that the prisoner is in need of
 13 immediate medical care and … fails to take reasonable action to summon such medical
 14 care.” Cal. Gov’t Code § 845.6. However, § 845.6 applies only to the employee’s failure
 15 to summon medical care, “not for certain employee’s malpractice in providing that care.”
 16 Castaneda v. Dept. of Corrections and Rehabilitation, 151 Cal.Rptr.3d 648, 663 (Ct. App.
 17 2013). Plaintiffs here allege that the Medical Defendants provided substandard medical
 18 care to Russell, not that they failed to summon medical care.
 19         Therefore, summary judgment is GRANTED in favor of all Defendants as to
 20 Plaintiffs’ seventh cause of action.
 21
 22      III.   MOTION TO TRIFURCATE
 23         Because the Court grants Defendants’ Motion for Summary Judgment as to
 24 Plaintiffs’ Monell claims, Defendants’ request to bifurcate trial of the liability claims and
 25 the Monell claims is DENIED AS MOOT. Therefore, the Court addresses only
 26 Defendants’ requests to (1) bifurcate the liability phase of the trial from the damages phase
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  1 and (2) to bifurcate the compensatory damages phase from the punitive damages phase.
  2 (MTT.)
  3
  4             A. Legal Standard
  5          Federal Rule of Civil Procedure 42(b) provides that, “[f]or convenience, to avoid
  6 prejudice, or to expedite and economize, the court may order a separate trial of one or
  7 more separate issues, claims, crossclaims, counterclaims, or third-party claims.” Fed. R.
  8 Civ. P. 42(b). “The decision to bifurcate is committed to the sound discretion of the trial
  9 court.” Hunter v. City and Cty. of San Francisco, No. 11-4911 JSC, 2012 WL 4831634, at
 10 *10 (N.D. Cal. Oct. 10, 2012) (citing Hangarter v. Provident Life and Acc. Ins. Co., 373
 11 F.3d 998, 1021 (9th Cir. 2004)).
 12
 13             B. Discussion
 14                 1. Bifurcation of Liability and Compensatory Damages Phases
 15          Defendants set forth two arguments in favor of bifurcating the trial into a liability
 16 trial and a damages trial. First, they argue that bifurcation promotes judicial efficiency and
 17 economy because it “would potentially eliminate lengthy, tedious medical testimony
 18 regarding … Russell’s life expectanc[y].” (MTT Mem. at 10.) Second, they argue that
 19 bifurcation is necessary because “emotionally charged testimony” from Russell’s parents,
 20 which would be pertinent only to damages, could “unfairly warp [Defendants’] right to a
 21 fair trial.” (Id.)
 22          The Court is not persuaded that bifurcation will promote judicial economy in the
 23 instant case, as it is unlikely that damages-related testimony will be lengthy. Howard v.
 24 Cty. of Riverside, No. ED-CV-12-00700-VAP (OPx), 2014 WL 12589655, at *1 (C.D. Cal.
 25 June 3, 2014). Defendants’ second argument, as to the testimony of Russell’s parents, is
 26 likewise unconvincing. To the extent that Defendants may face prejudice as a result of this
 27 testimony, Defendants have not shown that such prejudice could not be cured through an
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  1 appropriate limiting instruction. See Hamm v. Am. Home Prod. Corp., 888 F. Supp. 1037,
  2 1039 (E.D. Cal. 1995). Accordingly, Defendants’ request to bifurcate the liability and
  3 compensatory damages phases of the trial is DENIED.
  4
  5                2. Bifurcation of Compensatory and Punitive Damages Phases
  6         Defendants also request that the Court hold a separate trial on the issue of punitive
  7 damages in the event that the jury finds that punitive damages should be assessed. (MTT
  8 Mem. at 11.) Defendants argue that evidence of their net worth, which is relevant to
  9 punitive damages, could be prejudicial to the jury’s determination of compensatory
 10 damages. (Id.) Defendants are correct that evidence of a defendant’s financial standing is
 11 inadmissible to the determination of compensatory damages and that such evidence can
 12 often be prejudicial. See Geddes v. United Fin. Gp., 559 F.2d 557, 560 (9th Cir. 1977);
 13 999 v. C.I.T. Corp., 776 F.2d 866, 872 (9th Cir. 1985). Accordingly, Defendants’ request
 14 for a separate trial on the issue of punitive damages is GRANTED.
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  1         IV.    CONCLUSION
  2         For the foregoing reasons, Defendants’ Motion for Summary Judgment is
  3 GRANTED as to Plaintiffs’ claims against Sherriff Hutchens; Plaintiffs’ Monell claims
  4 against the County; and Plaintiffs’ seventh cause of action, failure to summon medical
  5 care. Accordingly, Sherriff Hutchens and the County are DISMISSED. Defendants’
  6 Motion is DENIED as to Plaintiffs’ claims for deliberate indifference, wrongful death,
  7 survival, and medical negligence against the Medical Defendants. Finally, the Motion to
  8 Trifurcate is GRANTED IN PART and DENIED IN PART.
  9         Further, in light of the Court’s holding, the parties are ORDERED to file updated
 10 versions of their joint proposed final pretrial conference order, proposed jury instructions,
 11 and proposed special verdict form no later than June 29, 2018.
 12
 13
 14 Dated: June 11, 2018                       _________________________________
                                                   HON. JOSEPHINE L. STATON
 15
                                                UNITED STATES DISTRICT JUDGE
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